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                                                                                                      2018 Jun-13 AM 10:13
                                                                                                      U.S. DISTRICT COURT
                                                                                                          N.D. OF ALABAMA


                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

 BOBBY D. PHILIPS,                                      §
                                                        §
         Plaintiff,                                     §
                                                        §
 v.                                                     §        Case No. 2:17-cv-02011-RDP
                                                        §
 CENTRAL FINANCIAL CONTROL,                             §
                                                        §
         Defendant.                                     §

                      MOVANT, CENTRAL FINANCIAL CONTROL’S,
                      MOTION FOR JUDGMENT ON THE PLEADINGS

        Movant Defendant, Syndicated Office Systems, LLC d/b/a Central Financial Control

(CFC), through counsel and under Federal Rule of Civil Procedure 12(c), hereby submits its

Motion for Judgment on the Pleadings and Brief in Support, seeking a dismissal with prejudice of

the Complaint filed by plaintiff, Bobby D. Philips (plaintiff), and states:

        1.       On December 1, 2017, plaintiff filed his class action Complaint alleging CFC

violated § 1692g(a)(2) of the Fair Debt Collection Practices Act (FDCPA), 15 U.S.C. § 1692, et

seq., by sending him a collection letter regarding a medical debt wherein CFC “fail[ed] to properly

inform [plaintiff] of the identity of the original creditor.” (Doc. 1, p. 6, ¶ 34.) Specifically, plaintiff

alleges CFC improperly referred to Brookwood Medical Center as the “Facility” instead of the

“Creditor.” Id. at p. 2, ¶ 10.

        2.       As discussed more fully in CFC’s Brief filed contemporaneously herewith,

plaintiff’s claim fails as a matter of law. See 15 U.S.C. § 1692g(a)(2); Lait v. Medical Data Sys.,

Inc., No. 1:17-CV-378, 2018 WL 1990513, *5 (M.D. Ala. April 26, 2018) (Watkins, C.J.),

reconsideration denied, No. 1:17-CV-378-WKW, 2018 WL 1973269 (M.D. Ala. Apr. 26, 2018),



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appeal docketed, No. 18-12255-F (11th Cir. May 25, 2018). Accordingly, plaintiff’s claim must

be dismissed with prejudice.

       WHEREFORE, CFC respectfully requests that this Court grant its Motion for Judgment

on the Pleadings, dismiss plaintiff’s Complaint with prejudice, and for such other relief to which

CFC has shown itself justly entitled.


                                                    Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 13, 2018, a copy of the foregoing was electronically filed with

the Clerk of the Court, United States District Court for the Northern District of Alabama and served

via CM/ECF upon the following:

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                                                     /s/ Whitney L. White
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